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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS

IN RE: COVIDIEN HERNIA MESH
PRODUCTS LIABILITY LITIGATION
NO. II,                                 MDL No. 1:22-md-03029-PBS

This Document Relates To:
            All Cases


              COVIDIEN DEFENDANTS’ STATEMENT OF THE CASE
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                     COVIDIEN DEFENDANTS’ STATEMENT OF THE CASE

        Use of synthetic mesh to repair hernia defects and reinforce weak tissue is the medical

standard of care. Covidien1 makes a variety of hernia mesh products, so that surgeons who repair

hernias can choose the type of mesh best suited for each patient. Showing no regard for the medical

standard of care or surgeons’ need for options, Plaintiffs in this MDL challenge the design and

safety of at least nine different hernia mesh products made by Covidien. Each of these meshes

was cleared for use by the U.S. Food and Drug Administration (“FDA”) and has been in clinical

use for many years, without any recalls or regulatory action for any safety issues.

        Plaintiffs assert a grab-bag of defect claims, attacking virtually every design variation

among Covidien’s meshes. For example, Plaintiffs allege, without any clinical basis, that it is a

design defect for Covidien to make some meshes out of polyester, while also claiming it is a design

defect for Covidien to make other meshes out of polypropylene. Yet almost all meshes on the

market for the past thirty years have been made of one of these two polymers. Similarly, Plaintiffs

allege that some of the pores in Covidien’s meshes are too small, while others are too big; that

both multi- and monofilament meshes are unsafe; that, despite a range of mesh weights/densities,

none are adequate; and that, regardless of the design, any barrier on the mesh to prevent adhesion

to internal organs is ineffective.

        These claims are the latest in a host of litigation brought by the same plaintiffs’ lawyers

against other hernia mesh manufacturers. In this industry-wide litigation, Plaintiffs are alleging,

in sum, that virtually every hernia mesh product on the market is defective. However, Covidien’s




1
 The two defendant entities that manufacture Covidien hernia mesh products are Sofradim
Production SAS (a French company) and Covidien LP. For ease of reference, we use the term
“Covidien” throughout this memorandum.

                                                 1
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meshes have been in clinical use for decades and are supported by a robust body of clinical

experience and extensive testing demonstrating both their safety and efficacy.

       Hernia surgery—like all surgery—is not without risks, including recurrence, reoperation,

infection, pain, and bowel injury. These risks are present regardless of whether hernia mesh is

used for the repair, and, importantly, no evidence exists that the use of Covidien hernia mesh

products increases the risk of any of these complications. On the contrary, consistent with hernia

mesh being the standard of care, it is well-established that the use of hernia mesh dramatically

reduces the risk of hernia recurrence and the need for reoperation, and the clinical evidence shows

that Covidien hernia mesh products perform as well as, or better than, other meshes on the market.

       Nonetheless, Covidien faces a large number of lawsuits alleging its hernia mesh products

are defective. Pending before the Court are approximately 100 such cases. This MDL follows

two larger coordinated proceedings in Massachusetts and Minnesota state courts. Utilizing the

discovery and pretrial procedures already in place in the Massachusetts state court proceeding,

which began two years ago, will allow the Court and the parties to efficiently establish a process

to bucket the claims pleaded here and test their merits through early motions practice and Daubert

hearings.

       The memorandum below provides more detailed background for the Court on hernias and

hernia repair surgery, Covidien’s hernia mesh products, Plaintiffs’ claims and Covidien’s defenses.

                                 FACTUAL BACKGROUND

       A.      Hernias and Hernia Repair Surgery

       A hernia is a common medical condition that affects more than four million people in the

United States each year alone. Risk factors for developing hernias include obesity, pregnancy,




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prior surgeries, and family history.2 The term “abdominal hernia” refers generally to any defect

in the abdominal muscles that results in a portion of a person’s internal organs—often, the

intestines of the bowel—protruding through the abdominal wall. Hernias can occur in a variety of

locations in the abdomen and vary in size and severity. The location, size, and severity of a hernia

can affect both its clinical course and how it is best treated.

       If left untreated, a hernia can become incarcerated—meaning that abdominal contents

become stuck in the abdominal wall causing severe pain—or strangulated—meaning that blood

supply is cut off to a part of the bowel. Strangulation of the bowel is a surgical emergency that

can result in disability or death.3 Thus, while sometimes benign, the consequences of an untreated

hernia can be severe and even life-threatening.

       Surgery is the only treatment available to repair a hernia. Like all surgical procedures,

hernia repair has well-known, inherent risks, regardless of whether, or which, mesh is used.

According to the U.S. Food & Drug Administration (“FDA”), these risks include “pain, infection,

hernia recurrence, scar-like tissue that sticks tissues together (adhesion), blockage of the large or

small intestine (obstruction), bleeding, abnormal connection between organs, vessels, or intestines

(fistula), fluid build-up at the surgical site (seroma), and a hole in neighboring tissues or organs

(perforation).”4 In particular, it is well-known that a significant percentage of hernias will recur

within a few years after surgery. This risk of recurrence is lower when mesh is used and higher in

patients who are obese or have large hernias.5




2
  See FDA, Hernia Surgical Mesh Implants, https://www.fda.gov/MedicalDevices/
ProductsandMedicalProcedures/ImplantsandProsthetics/HerniaSurgicalMesh/default.htm (last
updated Feb. 4, 2018).
3
  Id.
4
  Id.
5
  Id.
                                                   3
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       B.      Hernia Mesh

       Hernia mesh has been the standard of care for hernia repair for more than six decades.

During this time, a large body of scientific evidence has established that the use of hernia mesh

strengthens surgical repair, reduces the rate of hernia recurrence, and decreases the need for

reoperation.6 Clinical studies even suggest that surgical mesh improves patient outcomes and

reduces recovery times.7 For these reasons, the vast majority of surgeons now use mesh to repair

all but the smallest hernias.8 Indeed, leading hernia surgical societies in the United States and

around the world recommend the use of mesh in virtually all hernia repair procedures.9

       Today, a wide range of surgical meshes, sold by a number of different manufacturers, are

available in the United States.    These meshes differ in material, size, density, and other

characteristics, allowing surgeons to choose—based on their experience and training—the most

appropriate mesh to fit the needs of the individual patient and the specific repair procedure. The

availability of varying design features in mesh is important because “the use of a single mesh


6
  Id.
7
  Id.
8
  Id.
9
  Ventral Hernia Working Group, et al. Incisional ventral hernias: review of the literature and
recommendations regarding the grading and technique of repair. SURGERY 2010;148(3):544-58
(“[A]ll ventral hernia repairs should be reinforced with prosthetic repair materials. The current
standard for reinforced hernia repair is synthetic mesh, which can reduce the risk for recurrence
in many patients.”); British Hernia Society, Mesh and your Hernia Repair (2018),
https://www.britishherniasociety.org/british-hernia-society-mesh-safety-leaflet/ (“The use of
mesh to repair the majority of hernias has been the preferred method in the UK and worldwide
over 25 years.”); Americas Hernia Society, Mesh Advisory Statement for Patients (Oct. 21,
2018), https://www.americanherniasociety.org/patient-education/mesh-advisory-statement (“The
Americas Hernia Society (AHS) supports the use of appropriately selected mesh reinforcement
for the vast majority of . . . hernias to reduce the risk of hernia recurrence.”); THE SAGES
MANUAL OF HERNIA SURGERY (S. Scott Davis Jr., Gregory Dakin, Andrew Bates, eds., 2d ed.
2019) (“Prosthetic mesh placement is now the standard of care for all but the smallest ventral
hernias.”); Bittner, R., et al., Update of Guidelines for laparoscopic treatment of ventral and
incisional abdominal wall hernias (International Endohernia Society (IEHS)) – Part A,
SURGICAL ENDOSCOPY 2019:33;3069-3139 (“[A]ll defects of the abdominal wall . . . and of
whatever size should be repaired with the use of prosthetic mesh.”).
                                                4
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design capable of functioning effectively in all scenarios is unrealistic.”10

        Over the past decade, based on FDA’s extensive oversight of mesh products, there have

been only a few isolated instances of hernia mesh products being recalled or withdrawn due to

product design, packaging defects, or performance issues—most notably Davol’s Composix Kugel

Mesh and Ethicon’s Physiomesh Flexible Composite Mesh.11 Those problems stemmed from

design features unique to the products at issue and led to extensive MDL proceedings. However,

plaintiffs’ counsel did not stop at those hernia mesh products and went on to launch industry-wide

litigation targeting virtually all hernia mesh products, including meshes that have not been recalled

or subject to any adverse regulatory action by FDA. None of Covidien’s hernia mesh products at

issue in this litigation have been recalled or subject to an adverse regulatory action related to safety.

        C.      Covidien Hernia Mesh Products

        Covidien’s hernia mesh portfolio illustrates how hernia mesh manufacturers have

developed products adapted to meet surgeon needs, with prior mesh designs and clinical

experience serving as the foundation for the next generation of meshes. Since 1990, Covidien has

introduced more than 20 hernia mesh products with a variety of design features. In this MDL, nine

different Covidien hernia mesh products presently are at issue: Parietex Composite (“PCO”),

Parietex Optimized Composite (“PCOx”), Parietex Hydrophilic, Symbotex, Parietex ProGrip Self-

Gripping (“ProGrip”), Parietex ProGrip Laparoscopic Self-Fixating (“Lap ProGrip”), Parietex

Composite Ventral Patch (“PCO-VP”), Parietene, and Parietene DS.


10
   See Surge Kalaba et al., Design Strategies and Applications of Biomaterials and Devices for
Hernia Repair, BIOACTIVE MATERIALS 2016;1(1):2-17, at 5.
11
   See, e.g., In re Ethicon Physiomesh Flexible Composite Hernia Mesh Prods. Liab. Litig., No.
17-MD-02782 (N.D. Ga. filed June 2, 2017) (unique mesh design with anti-adhesion coatings on
both sides led Ethicon to voluntarily withdraw mesh from market); In re Physiomesh Litig.
(Flexible Composite Mesh), No. 627 (N.J. Super. Ct. consolidated July 17, 2018) (same); In re
Kugel Mesh Hernia Patch Prods. Litig., No. 07-MD-1842 (D.R.I. consolidated June 22, 2007)
(unique memory recoil ring broke in patients and led to FDA recalls in 2006 and 2007).
                                                   5
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            The chart below illustrates the distinct design features and uses of the products identified

in Plaintiffs’ Complaints to date.

                 YEARS
                          SAFETY-
                   ON                                PORE    WEIGHT /   FILAMENT                HERNIA
 PRODUCT                  RELATED     MATERIAL                                     BARRIER
                MARKET                               SIZE    DENSITY       TYPE               INDICATION
                          RECALLS
                  (US)


 Parietex                                                                                    INGUINAL &
                   23      NONE          PET*       MACRO     HEAVY      MULTI       NO
 Hydrophilic                                                                                 INCISIONAL



 PCO               21      NONE          PET        MACRO    STANDARD    MULTI      YES         ALL




 PCO-VP            10      NONE          PET        MACRO    STANDARD    MONO       YES      PARASTOMAL




 PCOx              11      NONE          PET        MACRO     HEAVY      MULTI      YES         ALL




 Symbotex           9      NONE          PET        MACRO     LIGHT      MONO       YES         ALL



 Parietex                                                                                    INGUINAL &
                   14      NONE          PET        MACRO    STANDARD    MONO        NO
 ProGrip                                                                                     INCISIONAL



 Lap
                   10      NONE          PET        MACRO    STANDARD    MONO       YES       INGUINAL
 ProGrip



 Parietene         23      NONE          PP**       MACRO    STANDARD    MONO        NO         ALL



 Parietene
                    5      NONE           PP        MACRO     LIGHT      MONO       YES         ALL
 DS

*PET = polyethylene terephthalate, a type of polyester
**PP = polypropylene

                   1.      Strong Safety Record

            All Covidien hernia mesh products have been cleared for use through FDA’s 510(k)

process, which confirms that the meshes are safe, effective, and substantially equivalent to

products already available on the market. Covidien has demonstrated the safety and efficacy of

each mesh through extensive testing for biocompatibility, strength, performance, sterility, and

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other qualities consistent with FDA requirements. After clearance, Covidien and the FDA conduct

studies, closely monitor any complaints received, review the scientific literature, and evaluate

other sources of information to ensure product safety. Covidien’s robust monitoring program

includes analyzing complaints from patients, providers, and publications for potential safety trends

in addition to evaluating clinical studies, case reports, and surgeons’ clinical experience.

               2.      Key Design Features

       Each mesh product that Covidien manufactures incorporates a combination of design

features that, working together, make the mesh suitable for different patient needs and surgical

procedures. All of these characteristics interact with each other and contribute to the ultimate

performance of the mesh. There is no “one size fits all” hernia mesh—no single set of design

features are appropriate for every patient or every clinical situation.

       There are five primary design characteristics that vary across the meshes at issue and

provide surgeons with an array of treatment options depending on the hernia, the patient, and the

surgeon’s personal preferences. These are material, filament, pore size, weight, and barrier.

Certain mesh products also contain other unique features designed to meet specific surgical needs.

Parietex ProGrip and Lap ProGrip are two such meshes, containing a “microgrip” feature.

       Material. The products at issue in this MDL consist of synthetic meshes made from

polyester or polypropylene. Five meshes (PCO, PCOx, Parietex Hydrophilic, Parietex ProGrip,

Lap ProGrip, Symbotex, and PCO-VP) are composed of polyester, while two meshes (Parietene

and Parietene DS) are composed of polypropylene. These materials differ based on surgeon

preference and the materials’ effects on handling properties. For example, some surgeons report

a preference for polyester mesh for laparoscopic procedures because it is pliable and unfolds

more easily than polypropylene mesh. Both polyester and polypropylene have been used safely

in hernia mesh products and other implantable medical devices (for example, cardiac stents) for
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decades, and neither the FDA nor the broader surgical community has raised concerns about the

use of either material for this purpose. Approximately 90% of hernia mesh products on the

market today are made from either polyester or polypropylene.

       Filament. Covidien hernia meshes are designed as either multifilament or monofilament.

Multifilament meshes are knitted from multiple fibers woven together in a manner similar to a

rope, whereas monofilament meshes are knitted from single fibers. These structures contribute

to a mesh’s handling properties, as multifilament mesh tends to be softer and more pliable,

whereas monofilament mesh offers more stiffness. Three meshes (PCO, PCOx, and Parietex

Hydrophilic) are multifilament, while six meshes (Parietex ProGrip, Lap ProGrip, PCO-VP,

Symbotex, Parietene, and Parietene DS) are monofilament.

       Pore Size. The pores within a hernia mesh enable tissue to grow and anchor the mesh in

place, helping prevent a hernia from recurring. Pores also allow fluids to pass through the mesh,

lowering the risk of fluid build-up—a common side effect of hernia surgery known as a

seroma—and reducing the risk of infection. The size of the pores influences a mesh’s

mechanical strength and propensity for tissue integration as well. The Covidien meshes at issue

are large pore meshes—ranging in size from 1.3 to 3.0 millimeters in diameter—which, the

scientific evidence suggests, is a range the helps promote tissue ingrowth and minimize the risk

of pain.

       Weight/Density. The weight or density of a hernia mesh refers to the amount of material

in the mesh. Meshes fall on a continuum depending on their particular design. The choice of the

appropriate mesh weight is a clinical decision left to the surgeon. Surgeons might select heavier

meshes when repairing large, complex hernias or hernias in patients who are overweight.

Conversely, surgeons might select a lighter-weight mesh to repair a smaller hernia or for a



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patient who is smaller or less active. Regardless, surgeons require a range of meshes with

different weights to be able to select the most appropriate mesh for each individual patient. As

detailed in the chart above, Covidien’s hernia mesh products range from light to heavyweight.

       Barrier. Depending on the location and size of a hernia, surgeons may perform repairs

using the intraperitoneal onlay mesh (“IPOM”) procedure. Because this procedure places the

mesh in direct contact with the bowel, manufacturers, including Covidien, developed hernia

mesh products containing a barrier layer or coating on the side of the mesh that faces the bowel

to minimize the risk of scar tissue—known as adhesions—developing between the mesh and the

bowel. Among the nine products at issue in this litigation, six have barriers (PCO, PCOx, PCO-

VP, Symbotex, Lap ProGrip, and Parietene DS).

       The presence of a barrier is most important for the first five to seven days after an IPOM

surgery, before the body has a chance to heal and develop a new layer of cells (or peritoneum)

between the mesh and the bowel. Once this occurs, the barrier is no longer needed, so it is designed

to be absorbed by the body during the healing process. All but one of Covidien’s barrier meshes

are comprised of a collagen barrier that the body fully absorbs about 30 days after surgery.

Parietene DS has a synthetic barrier that fully absorbs within 105 days and provides an alternative

for patients who may wish to avoid products containing animal byproducts such as collagen.

       ProGrip “Microgrips.” Covidien’s Parietex ProGrip and Lap ProGrip products have a

unique microgrip feature, consisting of thousands of tiny, self-fixating, and resorbable synthetic

grips on one side of the mesh that disappear over time. The microgrips allow surgeons to place

Parietex ProGrip and Lap ProGrip without the use of a fixation device like tacks or sutures and

are intended to help reduce surgery time and post-operative recovery. Meshes with microgrips




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can attach directly to the patients’ tissue, and the microgrips slowly reabsorb over the course of

approximately 18 months as tissue integrates into the mesh, reinforcing the hernia repair.

       D.      Plaintiffs’ Alleged Injuries

       Plaintiffs’ alleged injuries—pain, recurrence, adhesions, infection, migration, and bowel

complications—all are well-recognized complications of hernia repair surgery that are

universally known by surgeons and routinely told by surgeons to patients. These complications

can occur with or without the use of mesh and regardless of the type of mesh used. Indeed, a

large body of scientific evidence suggests that the use of mesh in hernia repairs helps to reduce

several of these complications (most notably recurrence) and improve patient outcomes.12

Further, several factors including a patient’s health history and lifestyle strongly impact the

likelihood of these complications occurring. For example, obesity increases the likelihood for

recurrence and smoking impairs wound healing, increasing the likelihood of infection.13

       Surgeons are aware of the common complications of hernia surgery and the risk

associated with the use of hernia mesh based on their professional training and experience,

starting in medical school and progressing through their residency training and clinical practice.

These potential risks also are outlined in the Instructions for Use (“IFU”) that accompany all

Covidien mesh products. As shown in the chart below, Plaintiffs overwhelmingly allege they

suffered common, expected, and warned-about complications associated with hernia surgery.

                        Alleged Injury         Number and Percent of Cases
                    Pain                               59 (62%)
                    Adhesions                          49 (52%)
                    Infection                          34 (36%)
                    Recurrence                         20 (21%)

12
   See FDA, Hernia Surgical Mesh Implants, https://www.fda.gov/MedicalDevices/
ProductsandMedicalProcedures/ImplantsandProsthetics/HerniaSurgicalMesh/default.htm (last
updated Feb. 4, 2018).
13
   See id.
                                                 10
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                    Bowel Complications                     17 (18%)

Rather than attributing their injuries to a myriad of potential patient and surgical factors, Plaintiffs

allege that those injuries were caused by some design defect in each of Covidien’s hernia mesh

products.

       E.      Other Hernia Mesh Litigation

               1.      Covidien Hernia Mesh Litigation

       As the Court is aware, this MDL is one of three coordinated proceedings concerning

products liability claims related to Covidien’s hernia mesh products. In July 2020, the Superior

Court of Massachusetts coordinated all hernia mesh cases filed in that court in Middlesex County,

now before the Honorable Christopher Barry-Smith. See Bettie Ann Smith v. Covidien LP, et al.,

Civil Action No. 1781CV01845 (Lead Case) (the “MA proceeding”). Today, the MA proceeding

consists of more than 5,000 suits and includes all of the same products at issue in this MDL (and

more). Defendants successfully moved to dismiss deceptive trade practices and punitive damages

claims in three representative complaints selected by the parties for motion practice on the

pleadings. Plaintiffs’ remaining claims include strict liability, negligent design defect, and failure

to warn. Unlike here, plaintiffs in the MA proceeding do not allege manufacturing defect claims.

Document discovery is well underway, with case-specific discovery set to begin after the parties

select cases for an initial bellwether discovery pool in early January 2023.

       The second coordinated proceeding is before Judge James A. Moore in the District Court

for Hennepin County, Minnesota. McCauley, et al. v. Medtronic, Inc., et al., No. 27-CV-14780.

Formed in December 2021, it consists of 29 suits involving 352 plaintiffs and also includes many

of the same products at issue in the MDL. The litigation is in the early stages, with no master

pleadings or early motion practice, and no discovery to date.



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       Prior to the formation of this MDL, Covidien litigated more than 30 single-plaintiff cases

filed in different federal district courts across the country. In 19 of those cases, the district court

dismissed the plaintiffs’ allegations in their entirety on the merits, finding that plaintiffs—often

after multiple attempts—failed to assert facts sufficient to support their design defect,

manufacturing defect, and failure to warn claims.14 Among the handful of cases that progressed

beyond the pleadings stage, all were dismissed, most on summary judgment. See Avendt v.

Covidien Inc., 262 F. Supp. 3d 493 (E.D. Mich. 2017) (granting summary judgment for Covidien);

Emery v. Medtronic, Inc., No. 4:18-cv-358 (S.D. Tex. Apr. 24, 2019), ECF No. 66, aff’d 793 F.

App’x. 293 (5th Cir. 2019) (same); Northrup v. Covidien LP, No. 5:20-cv-355 (C.D. Cal. Nov. 24,

2021), ECF No. 100 (same and excluding plaintiff’s specific causation expert on Daubert

grounds).

               2.      Litigation Against Other Hernia Mesh Manufacturers

       There has been a series of litigations involving hernia mesh products manufactured by other

companies, much of which was brought by the same plaintiffs’ counsel. Beginning in 2007, the

Judicial Panel for Multidistrict Litigation (“JPML”) centralized personal injury actions relating to

the recall of Kugel Hernia Patch manufactured by C.R. Bard, Inc. and Davol, Inc., In re: Kugel


14
  See, e.g., Sparks v. Medtronic, Inc. et al., No. 8:20-cv-03074-SCB-TGW (M.D. Fla. June 28,
2021) (dismissing complaint in its entirety and with prejudice); Dunham v. Covidien, LP, No. 19-
cv-02855 (S.D.N.Y. Oct. 9, 2020), ECF No. 41 (same); Krulewich v. Covidien L.P., No. 19-cv-
02857 (S.D.N.Y. Oct. 9, 2020), ECF No. 34 (same); Taylor v. Medtronic, Inc., No. 18-cv-1201,
2020 WL 886118 (N.D.N.Y Feb. 24, 2020) (same); Cofresi v. Medtronic, No. 19-cv-1222 (W.D.
Tex. Mar. 30, 2020), ECF No. 22 (dismissing complaint in its entirety); Kelly v. Covidien, Inc.,
No. 19-cv-05497 (S.D.N.Y. Jan. 7, 2020), ECF No. 16 (same); Meredith v. Medtronic, Inc., No.
18-cv-00127 (S.D. Iowa Oct. 25, 2019), ECF No. 56 (same); Green v. Covidien LP, No. 18-cv-
02939 (S.D.N.Y. Aug. 30, 2019), ECF No. 22 (same); Soutner v. Covidien, LP, No. 17-cv-
02178, 2019 WL 3801438 (M.D. Pa. Aug. 13, 2019) (same); Nowell v. Medtronic, Inc., 372 F.
Supp. 3d 1166 (D.N.M. 2019) (same); Kennedy v. Covidien, LP, No. 18-cv-01907, 2019 WL
1429979 (S.D.N.Y. Mar. 29, 2019) (same); Barnes v. Medtronic, PLC, No. 17-cv-14194, 2019
WL 1353880 (E.D. Mich. Mar. 26, 2019) (same); Rincon v. Covidien, No. 16-CV-10033, 2017
WL 2242969 (S.D.N.Y. May 22, 2017) (same).
                                                  12
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Mesh Hernia Patch Prod. Liab. Litig., 493 F. Supp. 2d 1371 (J.P.M.L. 2007). A decade later, the

JPML centralized claims alleging defects in Atrium Medical Corporation’s C-QUR hernia mesh,

In re: Atrium Medical Corp. C-QUR Mesh Prods. Liab. Litig., 223 F. Supp. 3d 1355 (J.P.M.L.

2016). In 2017, the JPML did the same for actions alleging defects in the withdrawn Physiomesh

product, manufactured by Ethicon, Inc. and Johnson & Johnson, In re: Ethicon Physiomesh

Flexible Composite Hernia Mesh Prods. Liab. Litig., 254 F. Supp. 3d 1381 (J.P.M.L. 2017).

Today, these three MDLs are mostly resolved.

       In 2018, the JPML centralized actions pertaining to a variety of polypropylene-based hernia

mesh products manufactured by Bard and Davol, In re: Davol, Inc./C.R. Bard, Inc., Polypropylene

Hernia Mesh Prods. Liab. Litig., 316 F. Supp. 3d 1380 (2018). Lead Counsel for Plaintiffs in this

MDL served as trial counsel for plaintiffs in the first two bellwether cases in the Bard

polypropylene MDL. In the first bellwether trial, Johns v. C.R. Bard, et al., the jury returned a

defense verdict, finding that defendants were not liable for injuries the plaintiff alleged resulted

from mesh defects. No. 2:18-cv-01509 (S.D. Ohio Sept. 8, 2021), ECF No. 552. In the second

bellwether trial, Milanesi, et al. v. C.R. Bard, et al., the jury found in favor of plaintiffs only on

their negligent design defect claim while rejecting plaintiffs’ strict liability design defect, failure

to warn, negligent misrepresentation, and fraudulent misrepresentation claims, and awarded

$250,000 in damages. No. 2:18-cv-01320 (S.D. Ohio, Apr. 15, 2022), ECF No. 381. Based on

the modest damages award, however, the plaintiffs have since moved the court for a new trial on

damages. Milanesi, No. 2:18-cv-01320, (S.D. Ohio, May 13, 2022), ECF No. 385.

                              LEGAL CLAIMS AND DEFENSES

       A.      Plaintiffs’ Claims

       Plaintiffs allege strict liability and negligent design defect, manufacturing defect, and

failure to warn claims, as well as breach of warranty, fraudulent concealment, and negligent

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misrepresentation. Approximately 90% of the Complaints pending in the MDL were filed by one

of two plaintiffs’ firms—Levin, Papantonio, Rafferty, Proctor, Buchanan, O’Brien, Barr &

Mougey, P.A or Fleming, Nolen & Jez, LLP. Though the Complaints allege use of at least nine

distinct products, the factual allegations and legal claims they assert are nearly identical. Plaintiffs’

one-size-fits-all approach creates inconsistencies, which highlights their failure to state a claim

pursuant to Rule 12(b)(6). Indeed, many of the Complaints allege as safer alternative designs the

features of some Covidien hernia mesh products that other Complaints allege are defective.

        Design Defect. Plaintiffs assert that one or more characteristics of the Covidien hernia

mesh that their surgeons chose to use to repair their hernias constitutes a fundamental defect in

the mesh’s design, rendering the product unfit for its intended use and causing Plaintiffs’

injuries. See, e.g., Easom v. Covidien, Inc., et al., No. 1:21-cv-11985, ECF No. 1 ¶¶ 49–50 (D.

Mass. Dec. 8, 2021). In cases involving meshes made of polyester, Plaintiffs allege that the

polyester polymer is defective because it is brittle and causes an inflammatory reaction resulting

in injury. Id. ¶¶ 42–44. Plaintiffs allege that polypropylene is a safer alternative that would have

reduced the severity and duration of their injuries. Id. ¶ 92 (“[O]ther safer feasible alternative

designs for hernia mesh products that would have reduced the likelihood, severity, frequency and

duration of the injuries Plaintiff suffered include utilizing the polymer polypropylene as the

permanent polymer grafting material.”). Simultaneously, Plaintiffs assert that Covidien’s

Parietene products, made of polypropylene, are defective, asserting nearly identical allegations

that polypropylene is brittle and causes an inflammatory reaction. See, e.g., Oremeno, et al., v.

Covidien, Inc., et al., No. 1:22-cv-10778, ECF No. 1 ¶¶ 43–44 (D. Mass. May 20, 2022).

Amazingly, these copy-cat Complaints also allege that polypropylene is a safer alternative

design. Id. ¶ 130 (“[O]ther safer feasible alternative designs for hernia mesh products that would



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have reduced the likelihood, severity, frequency and duration of the injuries Plaintiff suffered

include utilizing the polymer polypropylene as the permanent polymer grafting material.”).

These inconsistent allegations epitomize Plaintiffs’ “heads I win, tails you lose” approach to the

litigation and demonstrate Plaintiffs’ inability to point to a safer alternative design.

       Manufacturing Defect. Plaintiffs also allege that a flaw in the manufacturing process

caused the hernia mesh to deviate from Covidien’s design and manufacturing specifications.

See, e.g., Easom, No. 1:21-cv-11985, ECF No. 1 ¶¶ 104–123. Among their claims, Plaintiffs

assert that Covidien utilized “adulterated” polyester and collagen film and did not conduct proper

quality controls and testing in the manufacturing process. Id. ¶¶ 107–108, 110. However,

nowhere do they allege how the polyester and collagen film allegedly deviated from their

specifications (or how they were “adulterated”), nor do they allege any facts identifying from

which quality controls and/or testing Covidien allegedly deviated.

       Failure to Warn. Plaintiffs allege that Covidien failed to provide sufficient warnings and

instructions that would have put Plaintiffs, their health care providers, and the general public on

notice of adverse effects associated with the use of their hernia mesh products. See, e.g., id. ¶¶

124–137. Plaintiffs allege a laundry list of purported warnings that should have been provided,

most of which have no relevance to the particular product the Plaintiff claims to have used. Id. ¶

127(a)–(ll). Further, the risks associated with surgical hernia repair and the use of hernia mesh

are well known to surgeons.

       Breach of Warranty. Plaintiffs claim that Covidien breached express warranties that

their hernia mesh products were safe for use and fit for their intended purposes because the

products were defective, did not include adequate information about associated risks, and were

not as safe or effective as Covidien represented. See, e.g., id. ¶¶ 148–159. Plaintiffs also assert



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that Covidien breached implied warranties of merchantability, on the similar basis that their

hernia mesh products were not of the quality, safety, and fitness Covidien impliedly warranted.

Id. ¶¶ 160–174. Plaintiffs claim that they, or their physicians, relied on Covidien’s warranties as

the basis for consenting to have Covidien’s hernia mesh products placed.

       Fraudulent Concealment and Negligent Misrepresentation. Plaintiffs allege that

Defendants fraudulently withheld and concealed information about their hernia mesh products

pertaining to the products’ efficacy and the risks of injury associated with them. See, e.g.,

Beymer v. Covidien, Inc., et al., 1:22-cv-10100, ECF No. 1 ¶¶ 197–199. Plaintiffs claim that

they and/or their surgeons were induced to use Defendants’ hernia mesh products based on these

alleged misrepresentations or omissions. Id. ¶¶ 204–205. Plaintiffs likewise allege that

Defendants negligently materially misrepresented the safety and efficacy of their products to the

medical community, inducing Plaintiffs and their surgeons to purchase and place Defendants’

hernia mesh products. Id. ¶¶ 219–224.

       B.      Covidien’s Defenses

       Covidien has a number of defenses it expects to assert to seek dismissal of the cases,

including through early Rule 12(b)(6) and Rule 56 motion practice and/or Daubert challenges for

particular products and/or alleged injuries. These defenses include statute of limitations, lack of

a design defect and/or safer alternative design, lack of a deviation from intended specifications,

lack of a warnings defect, and failure to establish causation.

       Statute of Limitations. Based on a preliminary analysis of the Complaints, Covidien

believes as many as one-third of the cases in the docket may be time-barred. Covidien intends to

assert a statute of limitations defense based upon the limitations periods applicable to Plaintiffs

in their states of residence, possibly through one or more omnibus motions. Plaintiffs were

placed on notice of the claims they have now asserted at the onset of experiencing complications
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that are well-known and warned of in the IFU that accompanies each Covidien hernia mesh

product. See Nowell v. Medtronic Inc., 372 F. Supp. 3d 1166 (D.N.M. 2019), aff’d, No. 19-2073,

2021 WL 4979300 (10th Cir. Oct. 27, 2021) (dismissing hernia mesh complaint with prejudice

on statute of limitations grounds); Soutner, 2019 WL 3801438 (same).

       Lack of Design Defect and/or Safer Alternative Design. Plaintiffs cannot establish that

the design of any Covidien hernia mesh product is defective because those claims are

unsupported by the scientific evidence and decades of real-world use of the products by

surgeons, and there is no evidence of any recalls or adverse regulatory action related to safety.

In addition, most states require evidence of a safer alternative design, either as an element to be

proven or as part of a risk-utility assessment, to establish a design defect. See Branham v. Ford

Motor Co., 390 S.C. 203, n.11 (2010); Restatement (Third) of Torts: Products Liability § 2(b)

(1998); see also Dunham, 2019 WL 2461806 (dismissing hernia mesh design defect claim for

failure to allege feasible alternative design); Meredith, 2019 WL 6330677 (same); Barnes, 2019

WL 1353880 (same). Plaintiffs do not agree on one uniform safer alternative design, and in

some cases they take contradictory positions in identifying design defects and what would be a

better design. For example, Plaintiffs cannot reconcile asserting that polypropylene is a

defective material while simultaneously holding polypropylene out to be the safer alternative

design in other cases within the same MDL. Moreover, by attacking both polyester and

polypropylene—the two materials from which the vast majority of hernia meshes in the United

States are made today—Plaintiffs effectively are taking the position that there is no safe,

alternative hernia mesh product on the market, which flies in the face of the well-established

standard of care followed by surgeons across the country. See Kennedy v. Covidien, LP, 2019




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WL 1429979, at *3–4 (“[A]lleging that the product should not be used at all is insufficient to

satisfy the feasible alternative design element.”).

       No Deviation from Intended Specifications. Plaintiffs’ manufacturing defect claims

require a showing that Covidien’s hernia mesh products deviated from their design

specifications. Plaintiffs have no basis to assert that the mesh products they received differed in

any way from their FDA-cleared specifications and can point to no product recalls, withdrawals,

or safety signals reflecting a defect in manufacturing. See Green, 2021 WL 1198833, at *2

(S.D.N.Y. Mar. 30, 2021) (dismissing mesh manufacturing defect claim because plaintiff “did

not plead facts showing how Defendant’s manufacturing process was flawed, or in what way the

mesh in question deviated from Defendant’s design”); Krulewich, 498 F. Supp. 3d 566 (same).

       Adequate Warnings. Chief among the information and materials about Covidien’s

hernia mesh products available to physicians are Covidien’s FDA-cleared Instructions for Use

(“IFUs”). IFUs detail the features of the mesh, the types of procedures for which it has been

cleared for use by FDA, how to position it during procedures, possible complications from use,

potential contraindications, and other warnings and precautions. Covidien’s IFUs adequately

warned of complications associated with its hernia mesh products, which largely capture the

injuries Plaintiffs allege here. See Green, 2021 WL 1198833, at *7; Krulewich, 498 F. Supp. 3d

at 577; Kennedy, 2019 WL 1429979 at *5.

       Further, many jurisdictions hold that failure to warn claims are subject to a “learned

intermediary” defense, which provides that a medical device manufacturer owes no duty directly

to a patient to warn of a particular risk; instead, the manufacturer satisfies its duty by providing

warnings to the patient’s physician. See, e.g., Calisi v. Abbott Lab’ys, No. CIV.A. 11-10671-




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DJC, 2013 WL 5441355, at *3 (D. Mass. Sep. 27, 2013). Covidien satisfies its duty to warn in

making its product-specific IFUs available to physicians.

       No Causation. There is no reliable scientific evidence that Covidien’s hernia mesh

products cause certain alleged injuries, such as recurrence. Surgeons continue to use hernia

mesh for all but the smallest hernia repairs because of the overwhelming scientific evidence

demonstrating that hernia mesh reduces the risk of recurrence compared to no mesh. In addition,

Plaintiffs cannot show that Covidien’s hernia mesh products caused their specific injuries

because there are many alternative explanations for the complications they allege. As explained

above, Plaintiffs’ alleged injuries are well-known by the scientific community to be associated

with hernia repair surgery, regardless of whether mesh is used. These same complications also

can arise from a variety of patient health and lifestyle factors. Plaintiffs simply cannot

demonstrate that some defect specific to Covidien’s hernia mesh products resulted in their

injuries. See Krulewich, 498 F. Supp. 3d at 576 (“As courts considering similar issues have

concluded, the plaintiffs in this case ‘do[] not address the numerous plausible alternative

explanations for [plaintiff’s] medical problems, including natural complications from his hernia

disease or the development of a new hernia.’”) (internal citation omitted); Dunham, 2019 WL

2461806 at *2 (“Yet pain and recurring hernias are known complications of hernia repair

surgery, regardless of whether mesh is used, so the possibility of other causes has not been

excluded . . .”); see also Sparks, 2021 WL 2649235, at *2; Green, 2021 WL 1198833 at *5;

Rincon, 2017 WL 2242969, at *1.

                     KEY CASE MANAGEMENT CONSIDERATIONS

       Given the significant overlap in the products and claims at issue in the MA coordinated

proceeding and the MDL, Covidien believes it would be efficient and beneficial to all the parties

to utilize and produce in this MDL the discovery that already has been produced in the MA
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coordinated proceeding. To date, Covidien has produced hundreds of thousands of pages of

documents in the MA coordinated proceeding, including the design history files, 510(k) and other

regulatory files, organizational charts, and complaint reports. Further, because depositions of

Covidien employees have not yet been taken in the MA coordinated proceeding, Covidien

proposes that these employees’ depositions be taken jointly to the extent possible and to conserve

resources and reduce the burden on the witnesses.

       As discussed above, Covidien has successfully litigated and achieved dismissal of many of

the same claims that Plaintiffs assert here in other federal courts across the country. See supra p.

12, n. 14. For this reason, Covidien believes it would be fruitful to narrow the claims at issue in

the MDL through a master complaint, a procedural vehicle used in almost all current product

liability MDLs, which Covidien would have the opportunity to challenge through a motion to

dismiss. Covidien also respectfully proposes streamlining cases that can be evaluated on the merits

through early motion practice as the litigation develops.

                                         CONCLUSION

       Covidien looks forward to working with Plaintiffs and the Court to coordinate and

efficiently resolve these cases.

 Dated: September 13, 2022                           Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I, Loren H. Brown, certify that on September 13, 2022 a true and correct copy of the
foregoing document was served on all counsel of record by filing it with the courts Nextgen
CM/ECF system.



                                            /s/ Loren H. Brown
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